1
      STEVEN J. SIBLEY (SBN 152365)
2     JOHN DINAPOLI (SBN 84365)
      DINAPOLI & SIBLEY
3     Ten Almaden Boulevard, Suite 1250
      San Jose, CA 95113-2271
4     Telephone: (408) 999-0900
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5     e-mail:     sjs@ dslaw.net

6     Counsel to KURT MILLER,
      Movant.
7

8
                         THE UNITED STATES BANKRUPTCY COURT
9
                 NORTHERN DISTRICT OF CALIFORNIA-SAN JOSE DIVISION
10
      IN RE:                                         Case No. 18-51575 MEH
11

12           GLORIA CABRAL,                          Chapter 13

13                                                   CERTIFICATE OF SERVICE: MOVANT’S
                    Debtor.                          WITNESS LIST
14

15                                                   [Property: 3474 Gila Drive, San Jose,
                                                     California 95148]
16
                                                     Hearing
17                                                   Date: October 24, 2018
                                                     Time: 9:00 a.m.
18                                                   Place: Courtroom 3020
                                                             Federal Courthouse-San Jose
19                                                           280 South First Street
                                                     Judge: M. Elaine Hammond
20

21
22
             I am a citizen of the United States. My business address is The Law Offices of
23    DiNapoli & Sibley, Ten Almaden Boulevard, Suite 1250, San Jose, California 95113-
      2271, and my telephone number is (408) 999-0900. I am employed in the County of
24    Santa Clara where this service occurred. I am over the age of 18 years, and not a
      party to the within cause. I am readily familiar with the normal business practice of The
25    Law Offices of DiNapoli & Sibley for collection and processing of correspondence for
26    mailing with the U. S. Postal Service, and that practice is that correspondence is
      deposited with the U. S. Postal Service the same day as the day of collection in the
27    ordinary course of business.

28            On the date set forth below, following the ordinary business practice, I served
      the following document(s):



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                                            2
1
      MOVANT’S WITNESS LIST; and
2
      CERTIFICATE OF SERVICE
3
      by enclosing true copies thereof in a sealed envelope and placing it for collection and
4     service that same day in the ordinary course of business.
5     _X__(BY MAIL) I caused such envelope with first-class postage thereon fully prepaid
6     to be placed in the United States mail at San Jose, California, addressed to the
      parties as follows:
7
             Counsel for Debtor:
8            Ms. Linda Keny, Esq.
             The Litigation Law Group
9            111 North Market Street, Suite 1010
10           San Jose, CA 95113

11    X (BY ECF) Ms. Linda Keny, Esq.

12           I declare under penalty of perjury under the laws of the State of California that
      the foregoing is true and correct and that I executed this Proof of Service in the City of
13    San Jose, California, on October 18, 2018.
14
                                                 /s/ Steven J. Sibley
15                                               STEVEN J. SIBLEY

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